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~O 245C         (Rev. 09/11) Amended Judgment in a Criminal Case
                Sheet 1
                                                                                                                           (NOTE: I~ruE          9 Asterisks(*))
                                                                                                                                     U.S. DISTRICT COURT



                                             UNITED STATES DISTRICT COURT
                                                                   Eastern District of Arkansas
                                                                                               JAME
           UNITED STATES OF AMERICA                                                 AMENDEDJUDGMiN+-t:~H"~~~d#~=
                                                                                                               K
                                  V.
                                                                                    Case Number. 4: 14-cr-211-DPM-15
                           Kiefer Collins
                                                                                    USM Number: 28838-009
Date of Original Judgment:                  11/6/2015                               Patrick L Spivey
(Or Date of Last Amended Judgment)                                                  Defendant's Attorney

Reason for Amendment:
D Correction of Sentence on Remand (18 U.S.C. 3742(f)(l) and (2))                   D Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
D Reduction of Sentence for Changed Circwnstances (Fed R Crim                       D Modification ofbnposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                            Compelling Reasons (18 U.S.C. § 3582(c)(l))
D Correction of Sentence by Sentencing Court (Fed. R Crim. P. 35(a))                D Modification oflmposed Tenn of Imprisonment for Retroactive Amendment(s)
~Correction of Sentence for Clerical Mistake (Fed. R Crim. P. 36)                        to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                    D Direct Motion to District Court Pursuant D 28 U.S.C. § 2255 or
                                                                                      D 18 u.s.c. § 3ss9(c)C7)
                                                                                    D Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
r3{ pleaded guilty to count(s) _5_1_o_ft_h_e_l_nd_i_ct_m_e_n_t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
D    pleadednolo contendere to count(s)
     which was accepted by the court.
D was found guilty on count(s)
     after a plea ofnot guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                        Nature of Offense                                                              Offense Ended
 21 U.S.C. §§ 843(b)                    Use of a Communication Device in Furtherance of Drug

                                        Trafficking, a Class E Felony                                                   4/3/2014                     51


       The defendant is sentenced as provided in pages 2 through                    11         of this judgment The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
r;/ Count(s) 1 & 52                              D is                   ~are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenClant must notify the court and United States attorney of material changes in econormc circumstances.
                                                                                    11/5/2015
                                                                                    Date of Imposition of Judgmei;it



                                                                                    Signature of Judge              v
                                                                                    D.P. Marshall Jr.                                U.S. District Judge
                                                                                    Name ofJudge                                    Title of Judge
                                                                                              ).. l/)..t.u""'-1..M. :J..tJ IS
                                                                                    Date
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  AO 245C    (Rev. 09/11) Amended Judgment in a Criminal Case
             Sheet 2 - Imprisonment                                                                 (NOTE: Identify Changes with Asterisks (*))

                                                                                                 Judgment- Page _2__ of                11
 DEFENDANT: Kiefer Collins
 CASE NUMBER: 4:14-cr-211-DPM-15

                                                                IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of
24 months.




  rJ The court makes the following recommendations to the Bureau of Prisons:
1) that Collins participate in a residential drug abuse program, or non-residential programs if he does not qualify tor RDAP;

2) that Collins participate in educational and vocational programs during incarceration; (continued on next page)

 ri/ The defendant is remanded to the custody of the United States Marshal.
 D The defendant shall surrender to the United States Marshal for this district:
      D      at                                      D     a.m    D    p.m.   on
      D      as notified by the United States Marshal.

 D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      D      before 2 p.m. on
      0      as notified by the United States Marshal.
      D      as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
 I have executed this judgment as follows:




      Defendant delivered on

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment




                                                                                            UNITED STATES MARSHAL




                                                                                        DEPUTY UNITED STATES MARSHAL
                Case 4:14-cr-00211-DPM                         Document 616     Filed 12/02/15           Page 3 of 7

AO 245C     (Rev. 09/11) Amended Judgment in a Criminal Case
            Sheet 2A- Imprisonment                                                                  (NOTE: Identify Changes with Asterisks(*))

                                                                                                 Judgment-Page    _3_ of _ _
                                                                                                                           11_ _
DEFENDANT: Kiefer Collins
CASE NUMBER: 4: 14-cr-211-DPM-15

                                          ADDITIONAL IMPRISONMENT TERMS
3) that Collins participate in mental-health counseling during incarceration; if possible, this counseling should include an
anger-management component; and

4) designation to the available facility closest to central Arkansas to facilitate family visitation.
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 AO 245C       (Rev. 09/11) Amended Judgment in a Criminal Case
               Sheet 3 - Supervised Release                                                                  (N01E: Identify Changes with Asterisks (*))

                                                                                                                           4_ of
                                                                                                           Judgment-Page _ _                    11
 DEFENDANT: Kiefer Collins
 CASE NUMBER: 4:14-cr-211-DPM-15
                                                           SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of

1 year.




          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
 the custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state, or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall su"bmit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
 thereafter, as determined by the court.
 D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 r;/ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 r;/ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 D      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
 D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
 the Schedule of Payments slieet of this judgment
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescnbed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distnbuted, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the prooation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record. personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
          defendant's compliance with such notification requirement
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AO 24SC    (Rev. 09/11) Amended Judgment in a Criminal Case
           Sheet 3C - Supervised Release                                                     (NOTE: Identify Changes with Asterisks (*))

                                                                                           Judgment-Page   _5_ of               11
DEFENDANT: Kiefer Collins
CASE NUMBER: 4:14-cr-211-DPM-15

                                       SPECIAL CONDITIONS OF SUPERVISION
*S1) Collins shall participate, under the guidance and supervision of the probation officer, in a substance-abuse treatment
program, which must include regular and random drug testing, and may include outpatient counseling, residential
treatment, or both.

S2) Collins shall participate in mental-health counseling under the guidance and supervision of the probation officer.

*S3) Collins shall abstain from the use of alcohol throughout the course of supervision.
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AO 245C     (Rev. 09/11) Amended Judgment in a Criminal Case
            Sheet 5 - Criminal Monetary Penalties                                                          (NOTE: Identify Changes with Asterisks (*))

                                                                                                                     6---'of
                                                                                                   Judgment - Page _ _                       11
DEFENDANT: Kiefer Collins
CASE NUMBER: 4:14-cr-211-DPM-15
                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                                                          Restitution
TOTALS            $ 100.00                                           $                                 $ 0.00


     The determination ofrestitution is deferred until
     entered after such determination.
                                                            ------ . An Amended Judgment in a Criminal Case (AO 245C) will be
D    The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each paY-ee shall receive an approximately J>roportioned f,aY!Jlent, unless specified otherwise
    in the priority ~rder orpe~cen~e payment column below. However, pursuantto 18 U:S.C. § 3664(i , fill nonfederal VIctims must be paid
    before the Umted States 1s paid.

Name of Payee                                                    Total Loss*                Restitution Ordered       Priority or Percentage




TOTALS                                                           $                           s               0.00

D    Restitution amount ordered pursuant to plea agreement $
                                                                         ---------
D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     D the interest requirement is waived for           D fine           D restitution.
     0    the interest requirement for          D    fine      D restitution is modified as follows:


*Findings forthe total amount oflosses are required tmder Chapters 109A, 110, llOA, and l 13A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245C      (Rev. 09/11) Amended Judgment in a Criminal Case
             Sheet 6 - Schedule of Payments                                                               (NOTE: Identify Changes with Asterisks (*))

                                                                                                                       7_ of _ _1_1__
                                                                                                      Judgment- Page _ _
DEFENDANT: Kiefer Collins
CASE NUMBER: 4:14-cr-211-DPM-15


                                                     SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    lit1" Lump sum payment of$ _10_0_._o_o____ due immediately, balance due
           D not later than - - - - - - - - - - , or
           ~ in accordance with D C, D D, D E, or                       [ifF below; or
B    0     Payment to begin immediately (may be combined with          0 C,        0 D, or      OF below); or

C    0     Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    D Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                  over a period of
          - - - - - (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    D Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    lit1" Special instructions regarding the payment of criminal monetary penalties:
          If Collins is unable to pay the special assessment immediately, then during incarceration he shall pay 50 percent
          per month of all funds available to him until the assessment is paid in full.




Unless the court has expressly ordered otherwise, if this judgment imposes iinprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penaltie~,. except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the Clerk of me court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




0    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D The defendant shall forfeit the defendant's interest in the following property to the United States:


Pa~ents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
